* Case 23-12544 Doc168_ Filed 09/18/24 Entered 09/18/24 15:03:05 Desc Main
Form G5 (20210922_bko) Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
Eastern Division

Case Number: 23-12544

(Jointly Administered)
Chapter: 11
Honorable David D. Cleary

In Re:
VELSICOL CHEMICAL LLC, et al

Debtors.

Debtor(s)

ORDER GRANTING FIRST INTERIM FEE APPLICATION OF MUCH SHELIST P.C. AS
COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD
SEPTEMBER 21, 2023 THROUGH APRIL 30, 2024

Upon consideration of the First Interim Application of Much Shelist P.C. ("Much Shelist") as
counsel to the Debtors and Debtors In Possession in the above-captioned chapter 11 cases, for
compensation for services rendered and reimbursement of expenses for the period from September 21,
2023 through April 30, 2024 (the “First Interim Fee Application”) in the above-captioned chapter 11
cases, Much Shelist having requested $454,822.00 for professional services rendered and $6,104.00 as
reimbursement for actual and necessary expenses incurred during the Fee Application Period (as
defined in the First Interim Fee Application) on an interim basis; and it appearing to the Court that the
amounts requested in the First Interim Fee Application are reasonable: the Court further finding that the
services rendered and expenses incurred by Much Shelist, as described in the First Interim Fee
Application, were actual and necessary to the administration of, and actually benefited, the Debtors’
bankruptcy estates; and it appearing that notice of this First Interim Fee Application and opportunity for
a hearing on this First Interim Fee Application was appropriate under the particular circumstances and
that no other or further notice need be given; and after due deliberation and sufficient cause appearing
therefor,

IT IS HEREBY ORDERED THAT:

|. The First interim Application is granted as set forth herein.

2. The Court allows Much Shelist on an interim basis, $454,822.00 as compensation for services
rendered, and $6,104.00 as reimbursement for actual and necessary expenses incurred during the Fee

Application Period, as chapter 11 administrative expenses of the Debtors' estates under §§ 503(b) and
507(a)(1) of the Bankruptcy Code.

3. The Debtors are authorized to pay Much Shelist all fees and expenses allowed by this Order.

4. The Debtors are authorized to take all actions necessary to effectuate the relief granted by this
Order.
Case 23-12544 Doc168 Filed 09/18/24 Entered 09/18/24 15:03:05 Desc Main
Form G5 (20210922_bko) Document Page 2 of 2

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Dated: SEP 18 2024 United States Bankruptcy Judge

Prepared by:

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